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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

JOSE CASTELLANOS                                               CIVIL ACTION

VERSUS                                                         NO. 16-2501

SAINTS & SANTOS CONSTRUCTION,                                  SECTION “B”(2)
L.L.C., ET AL.


                                    JUDGMENT

      In a separate Opinion (see Rec. Doc. 184), the Court addressed

all remaining issues in the above-referenced matter, including the

issue of liquidated damages. Accordingly,

      IT   IS   ORDERED,     ADJUDGED,     AND    DECREED      that   there   be

judgment in favor of Plaintiffs against Defendants, pursuant to

the Parties’     agreement    for    payment     of   unpaid    overtime   wages

due to remaining      Plaintiffs,      plus    liquidated      damages   awarded

in   the   above-cited Opinion, and court costs. See also Rec. Docs.

174, 182 and 183.



      New Orleans, Louisiana, this 26th day of June, 2018.




                                     ___________________________________
                                     SENIOR UNITED STATES DISTRICT JUDGE




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